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AO 245B (Rev. 09/11)(VAED rev. 2) Sheet 1- Judgment in aCriminal Case
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                                          UNITED STATES DISTRICT COURT                                       OCT I 9 2012         2
                                                    Eastern District of Virginia
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                                                            Alexandria Division                            ALEXANDRIA. V!l:;"!;,:.\


UNITED STATES OF AMERICA
                                                                         Case Number:       1:12-CR-00336-001



Mark Kamil Mrad                                                          USM Number.        80336-083
                                                                         Defendant's Attorney:    Stuart Sears, Esquire
Defendant.


                                           JUDGMENT IN A CRIMINAL CASE
    The defendant pleaded guilty to Count 1 of the Criminal Information.
    Accordingly, the defendant is adjudicated guilty of the following counts involving the indicated offenses.
Title and Section                     Nature of Offense                          Offense Class          Offense Ended        Count


18 U.S.C. §1956                       Money Laundering                           Felony                 5-20-2010             1




    As pronounced on October 19th, 2012, the defendant issentenced as provided in pages 2 through 6 of this Judgment.
Thesentence is imposed pursuant to the Sentencing Reform Act of 1984.

    It is ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment
are fully paid. If ordered topay restitution, the defendant must notify the court and United States Attorney of material
 changes in economic circumstances.

    Signed this ft day of QC^L/. 2012.
                                                                                      /s/
                                                                        James C. Cacheris
                                                                        United States District Judge
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